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4    Attorney for Defendant
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8                                IN THE UNITED STATES DISTRICT COURT

9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10
                                                     )    Case No.: S 05-38 MCE
11   UNITED STATES OF AMERICA,                       )
                                                     )    STIPULATION AND ORDER TO EXTEND
12                  Plaintiff,                       )    TIME FOR PRELIMINARY
                                                     )    EXAMINATION AND EXCLUDE TIME
13          vs.                                      )
                                                     )
14   LISA LAYTON,                                    )
                                                     )
15                  Defendant                        )
16          The parties agree that time beginning May 17, 2005 and extending through May 24, 2005

17   should be excluded from the calculation of time under the Speedy Trial Act. The parties submit

18   that the ends of justice are served by the Court excluding such time, so that counsel for the

19   defendant may have reasonable time necessary for effective preparation, taking into account the

20   exercise of due diligence, and so that the defendant may have continuity of counsel. 18 U.S.C. §

21   3161(h)(8)(B)(iv). In particular, counsel for defendant needs more time to discuss the plea

22   agreement with the defendant, and at this time is preparing for trial in a Sacramento County

23   Superior Court case. The parties stipulate and agree that the interests of justice served by

24   granting this continuance outweigh the best interests of the public and the defendant in a speedy

25   trial. 18 U.S.C. §3161(h)(8)(A).




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1           The parties further request that this matter be taken off the May 17, 2005, calendar and be

2    rescheduled to May 24, 2005, at 8:30 a.m.

3                                         Respectfully submitted,

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     Date: 5-12-05                                       By: /s/ Danny D. Brace, Jr.,
5                                                               DANNY D. BRACE, JR.,
                                                                Attorney for Defendant
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7
     Date: 5-12-05                                       By:     /s/ Matthew D. Segal
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                                                                 MATTHEW D. SEGAL
                                                                 Assistant U.S. Attorney
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     IT IS SO ORDERED:
11
     Dated: May 18, 2005
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14                                            __________________________________
                                              MORRISON C. ENGLAND, JR
15                                            UNITED STATES DISTRICT JUDGE
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